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              EXHIBIT 24
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                                                                              David Saltmiras Highlights


           Business Highlights

           IARC, Regulatory/ FTO and Moms Across America Publications : Ghost authored/coauthored/ coordinated
           key and time critical glyphosate safety publications.

       •   Glyphosate carcingenicity. Greim et al. (2015)
       •   Glyphosate toxicology & fate. Saltmiras et al. (2015).
       •   Genotoxicity and human biomonitoring review. Kier (2015).
       •   Multiple myeloma in humans and glyphosate use. Sorahan (2015).
       •   Glyphosate in human milk. Bus (2015, in peer review).

           Glyphosate Annex I Renewal ( Europe ), Reregistration Review ( US and Canada)

       •   Led technical toxicology responses and coordinated comments/corrections to multiple regulatory reviewers
           in the EU, Canada and US on cancer, IARC, epidemiology, endocrine disruption, birth defects and
           human/infant exposures.

           Nimbus & BioAg Alliance Support

       •   Coordinated Nimbus Phase B toxicology testing, identifying sensitization as a class effect and the top two
           candidates as teratogenic. Promptly communicated findings with key internal and external stakeholders,
           leading to management endorsement of the TNC proposed screening strategy, to focus on developmental
           toxicity prior to a decision on Phase C transition.
       •   Conducted toxicological evaluations on dozens of microbial/biochemical BioAg Alliance products and seed
           treatment chemistries.
       •   Reviewed over 2000 microbial isolates for human health risks prior to approval for use in 2015 and 2016
           BioAg Alliance field trials.
       •   Provided input/feedback on MiR software development to streamline documentation, data capture and
           decisions for BioAg Alliance microbial isolate risk assessments.

           Development Highlights - New Lead for Novel Chemistry and Microbials Team

       •   Identified new opportunities for direct reports to broaden their toxicology base, develop core competencies
           and increase visibility beyond TNC.
               o   Jim: SP 104 with Novozymes; chemical stewardship reviews; protein toxicology studies.
               o    Elizabeth: OSHA GHS classification compliance for SDSs; Nimbus occupational and dev tox studies.

           Leadership Highlights - Focus on Developing People and Teams; Influencing

       •   Provided coaching and direction to an individual on my team, who had received a Letter of Concern based
           on 2014 "moderate" performance. Documented activities, observations and feedback throughout 2015,
           showing incremental improvements, now elevated to "strong" performance for all business and
           development goals.
       •   Voluntarily mentored a new Ecotox Team member to help navigate the Monsanto culture and networks.
       •   Assumed Vice-chair role of CLA Human Health and Risk Assessment Committee for 2015-16, representing
           Monsanto interests and reporting back relevant activities to the TNC and broader Regulatory organization.




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